                   Case 1:25-cv-00339-JDB                  Document 1-7         Filed 02/05/25        Page 1 of 1

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

                        AFL-CIO et al.                                  )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 1:25-cv-339
                                                                        )
                           DOL et al.                                   )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Vince Micone, in his official capacity as Acting Secretary of Labor
                                           Department of Labor
                                           200 Constitution Ave., NW,
                                           Washington, DC 20210




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Mark B. Samburg
                                           Democracy Forward Foundation
                                           P.O. Box 34553
                                           Washington, D.C. 20043



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:             02/05/2025
                                                                                          Signature of Clerk or Deputy Clerk
